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 7

 8   Counsel for Defendant Delacruz
 9

10                                 IN THE UNITED STATES DISTRICT COURT
11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                           SAN JOSE DIVISION
13

14    UNITED STATES OF AMERICA,                              Case No.: CR 19–680 LHK
15                    Plaintiff,                             STIPULATION AND [PROPOSED]
                                                             ORDER TO ADVANCE STATUS
16            v.                                             CONFERENCE AND DETENTION
                                                             HEARING
17    RENE DELACRUZ,
18                    Defendant.
19

20                                              STIPULATION
21
           Defendant Rene Delacruz, through counsel, and the Government, through its counsel submit
22
     this stipulation and respectfully request that the Status and Detention Hearing, currently scheduled
23
     for September 26, 2022 be rescheduled to August 25, 2022, at 1:30 p.m.
24
           The reason for the request is that Mr. Delacruz has been accepted into the Salvation Amy
25
     treatment program in Oakland, California. New participants in the program must arrive at their
26
     facility by noon, for intake. The parties intend to request a release order from the Court, releasing
27
     Mr. Delacruz from custody by 9:00 a.m. on August 26, 2022, so that Mr. Delacruz’s parents can
28
     pick him up at Santa Rita Jail, and transport him to the Salvation Army by noon the same day.
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
     DELACRUZ, CR 19–680 LHK
                                                         1
              Case 5:19-cr-00680-LHK Document 65 Filed 08/24/22 Page 2 of 3



 1         As such, the parties stipulate and agree that the currently set Status and Detention Hearing
 2   should be advanced to August 25, 2022.
 3         IT IS SO STIPULATED.
 4

 5   Dated:      August 24, 2022

 6                                                           JODI LINKER
                                                             Federal Public Defender
 7                                                           Northern District of California
 8                                                                     /S
 9                                                           SEVERA KEITH
                                                             Assistant Federal Public Defender
10

11   Dated:      August 24, 2022

12                                                           STEPHANIE HINDS
                                                             United States Attorney
13                                                           Northern District of California
14                                                                     /S
                                                             ANDREW LIAO
15
                                                             Assistant United States Attorney
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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
     DELACRUZ, CR 19–680 LHK
                                                         2
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 3                                 IN THE UNITED STATES DISTRICT COURT
 4                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                           SAN JOSE DIVISION
 6

 7    UNITED STATES OF AMERICA,                           Case No.: CR 19–680 LHK
 8                    Plaintiff,                          [PROPOSED] ORDER TO ADVANCE
                                                          STATUS CONFERENCE AND
 9            v.                                          DETENTION HEARING
10    RENE DELACRUZ,
11                   Defendant.
12
           Pursuant to the parties’ stipulation, and for good cause shown, the Court HEREBY ORDERS
13
     that the Status and Detention Hearing currently scheduled on September 27, 2022, be advanced to
14
     August 25, 2022 at 1:30 p.m.
15
           IT IS SO ORDERED.
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19   Dated:        ______________
                                                          HONORABLE NATHANAEL COUSINS
20                                                        United States Magistrate Judge
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     [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
     DELACRUZ, CR 19–680 LHK
                                                      1
